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     VINCENT FRAZER                                                July 13, 2023
     U.S. VIRGIN ISLANDS vs JP MORGAN CHASE                                    1

·1· · · · · UNITED STATES DISTRICT COURT FOR THE

·2· · · · · · · SOUTHERN DISTRICT OF NEW YORK

·3· · · · · · · CASE NUMBER:· 22-CV-10904-JSR

·4· · · · · · · · · ·ACTION FOR DAMAGES

·5
· · ·GOVERNMENT OF THE UNITED STATES· · · )
·6· ·VIRGIN ISLANDS,· · · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · · · )
·7· · · · · · · · · · · · · · Plaintiff,· )
· · · · · · · · · · · · · · · · · · · · · )
·8· ·VS.· · · · · · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · · · )
·9· ·JP MORGAN CHASE BANK, N.A.,· · · · · )
· · · · · · · · · · · · · · · · · · · · · )
10· · · · · · · · · · · · · · ·Defendant. )
· · · · · · · · · · · · · · · · · · · · · )
11· ·-------------------------------------

12

13

14

15· · · · · · · VIDEO RECORDED DEPOSITION OF

16· · · · · · · · · · ·VINCENT FRAZER

17· · · · · · · · ·THURSDAY, JULY 13, 2023

18

19

20
· · ·REPORTED BY:
21
· · ·DENISE D. HARPER-FORDE
22· ·Certified Shorthand Reporter (CSR)
· · ·Certified RealTime Reporter (CRR)
23· ·Certified LiveNote Reporter (CLR)
· · ·Registered Professional Reporter (RPR)
24· ·Notary Public (FLORIDA)

25


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·1· ·give specific information as to where
·2· ·he would be residing when he was not
·3· ·in one of his own homes, when he was
·4· ·out Of the country particularly or out
·5· ·of whatever it's -- away from one of
·6· ·his own homes.
·7· · · · · · ·His concern was out of having
·8· ·to disclose whose residence he may
·9· ·have been staying in, and they
10· ·expressed some apprehensions about
11· ·making that information publicly
12· ·available.
13· · · · ·Q.· Okay.· What was your reaction
14· ·to the various issues that his lawyers
15· ·were raising?
16· · · · · · ·ATTORNEY ACKERMAN:· Object to
17· ·form.
18· · · · · · ·THE WITNESS:· Initially my
19· ·reaction was we would apply the law
20· ·strictly the way the law was written.
21· ·And so it required him, as other
22· ·registrants, to come in and provide
23· ·all of the information that is
24· ·required by statute.
25· · · · · · ·(BY ATTORNEY NEIMAN):


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·1· · · · ·Q.· You said that was your initial
·2· ·reaction.
·3· · · · ·A.· Yes.
·4· · · · ·Q.· Did that change over time?
·5· · · · ·A.· When -- yes.· When his lawyer
·6· ·then began to explain and provide
·7· ·justification for their requests.
·8· · · · ·Q.· And how did it change?
·9· · · · ·A.· Well, we began to consider --
10· ·we, myself and my staff, began to
11· ·consider the facts that they had
12· ·brought.· Because until I received the
13· ·request from Epstein's lawyers, I did
14· ·not know him personally or by
15· ·reputation.· I didn't know anything
16· ·about him.
17· · · · · · ·So when the correspondence and
18· ·information they provided indicated
19· ·and explained that he was a --
20· ·basically a financier, investment
21· ·banker or something of that sort that
22· ·required him to be very mobile and in
23· ·and out of the territory on very short
24· ·notice because he was in the type of
25· ·business that required him to travel


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·1· ·frequently.· Then we considered that.
·2· · · · · · ·So we began to see whether or
·3· ·not the law could accommodate it.
·4· ·And, for the most part, initially it
·5· ·was determined that we could not
·6· ·accommodate the requests he was
·7· ·making.
·8· · · · ·Q.· And, again, did that
·9· ·subsequently change over time?
10· · · · ·A.· Yes.
11· · · · ·Q.· In what way?
12· · · · ·A.· It changed in the discretion
13· ·was given to the Attorney General that
14· ·provided for a relaxation of some of
15· ·the time requirement and notice, prior
16· ·notice requirement for his travels.
17· · · · ·Q.· Okay.· Did you ultimately
18· ·grant him the accommodations that he
19· ·was seeking?
20· · · · ·A.· To my recollection, we granted
21· ·some by -- through the discretion of
22· ·the Attorney General, we granted some
23· ·relaxation.
24· · · · ·Q.· Was there -- withdrawn.
25· · · · · · ·Was Mr. Epstein the first time


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·1· ·the placement of the registrant to
·2· ·particular tiers.· That's my
·3· ·recollection.
·4· · · · ·Q.· Uh-huh.· Let's look at Exhibit
·5· ·54 for a second -- or Tab 54 for --
·6· ·for which we'll call Exhibit 3.
·7· · · · · · ·(Whereupon, Defendant's
·8· · · · · · · Exhibit No. 3, Bill No.
·9· · · · · · · 29-0239, was marked for
10· · · · · · · identification)
11· · · · · · ·(BY ATTORNEY NEIMAN):
12· · · · ·Q.· All right.· Sir, do you
13· ·recognize Exhibit 3 as the sex
14· ·offender legislation that was passed
15· ·in the summer of 2012?
16· · · · ·A.· I recognize Exhibit 3 to be a
17· ·copy of Article 7372, which shows it
18· ·was passed in 2012.
19· · · · ·Q.· Okay.· If you look at the last
20· ·page of the exhibit, you can see the
21· ·seal of the Governor.· Do you see
22· ·that?
23· · · · ·A.· Yes.
24· · · · ·Q.· And it's dated July 18th of
25· ·2012.· Do you see that?


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·1· · · · ·A.· Yes.
·2· · · · ·Q.· So that's the day in which
·3· ·this bill was signed into law?
·4· · · · ·A.· Yes.
·5· · · · ·Q.· Okay.· And this is a law
·6· ·you're familiar with?
·7· · · · · · ·ATTORNEY ACKERMAN:· Object to
·8· ·form.
·9· · · · · · ·THE WITNESS:· I used to be
10· ·familiar.
11· · · · · · ·(BY ATTORNEY NEIMAN):
12· · · · ·Q.· Sure.· I'm not expecting you
13· ·to remember off the top of your head
14· ·every detail.· But there was a time
15· ·when it was part of your job to be
16· ·familiar with this law?
17· · · · ·A.· Yes.
18· · · · ·Q.· Okay.· And let's just take a
19· ·look at the tiering statute, tiering
20· ·portion of the statute just so we can
21· ·see if we agree on how this works.
22· · · · · · ·If you turn to page 9 of the
23· ·statute, you'll see a Section 1721B,
24· ·Tier Defenses.· Do you see that?
25· · · · ·A.· Yes.


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·1· ·has concluded its effort to draft
·2· ·proposed legislation."
·3· · · · · · ·Do you see that?
·4· · · · ·A.· Yes.
·5· · · · ·Q.· What was this task force?
·6· · · · ·A.· Well, it was a task force we
·7· ·assembled to assist us with drafting
·8· ·new and upgrading of our SORNA law.
·9· · · · ·Q.· All right.· And the article
10· ·references a 2011 deadline for
11· ·upgrading the law to be in compliance
12· ·with SORNA.· Do you see that?
13· · · · ·A.· Okay.· You say it here.              I
14· ·haven't seen it yet, but...
15· · · · ·Q.· What was that deadline as you
16· ·recall it?
17· · · · ·A.· I don't recall.
18· · · · ·Q.· All right.
19· · · · ·A.· They may have had a deadline
20· ·for us to be in compliance with
21· ·Federal law.· I don't remember what it
22· ·was.
23· · · · ·Q.· And was compliance with that
24· ·Federal law important to getting
25· ·funding to support your registration


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·1· ·program?
·2· · · · ·A.· Yes.
·3· · · · · · ·ATTORNEY ACKERMAN:· Object to
·4· ·form.
·5· · · · · · ·(BY ATTORNEY NEIMAN):
·6· · · · ·Q.· Did the Virgin Islands get its
·7· ·new legislation passed by the July
·8· ·2011 deadline?
·9· · · · ·A.· I don't recall.
10· · · · ·Q.· We just looked at some
11· ·legislation that was passed in the
12· ·summer of 2012, correct?
13· · · · ·A.· Yes.
14· · · · ·Q.· So that would be a year after
15· ·the deadline, right?
16· · · · ·A.· If that's what the dates
17· ·show.
18· · · · ·Q.· Take a look.
19· · · · ·A.· Yeah.
20· · · · ·Q.· Do you remember why it was
21· ·that the Virgin Islands missed the
22· ·statutory deadline?
23· · · · ·A.· I don't recall.· We may have
24· ·gotten an extensions, I think.             I
25· ·think we had gotten extensions on it.


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·1· · · · ·Q.· Do you know why if the statute
·2· ·was drafted by the task force in April
·3· ·of 2011, as this article indicates,
·4· ·that it didn't get passed for another
·5· ·more than a year?
·6· · · · · · ·ATTORNEY ACKERMAN:· Object to
·7· ·form.
·8· · · · · · ·THE WITNESS:· I don't recall
·9· ·why.· You notice the -- the proposed
10· ·legislation required Federal review as
11· ·well.· So that may have been part of
12· ·the time span as well.
13· · · · · · ·(BY ATTORNEY NEIMAN):
14· · · · ·Q.· Do you remember that that was
15· ·part of the time span or are you just
16· ·guessing?
17· · · · ·A.· No, I see reference to it in
18· ·the article.
19· · · · ·Q.· The article says that the
20· ·legislation will be sent to the Office
21· ·of the Governor, the U.S. Department
22· ·of Justice and the Virgin Islands
23· ·legislature for adoption.· Do you see
24· ·that?
25· · · · ·A.· Yes.


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·1· · · · ·Q.· Do you know whether DoJ --
·2· ·excuse me -- whether U.S. DoJ approval
·3· ·was required before the Virgin Islands
·4· ·legislature could adopt the statute?
·5· · · · ·A.· Yes, sir.
·6· · · · ·Q.· Yes, you do know or yes, it
·7· ·was required?
·8· · · · ·A.· The answer is yes, it was
·9· ·required.
10· · · · ·Q.· Okay.· Do you remember there
11· ·being any delay in getting the
12· ·approval from the U.S. Department of
13· ·Justice?
14· · · · ·A.· I wouldn't say there was --
15· ·there were back and forth between us
16· ·and Department of Justice, adjustments
17· ·they may have required that we may
18· ·have had to send back up to get the
19· ·approval.
20· · · · ·Q.· Uh-huh.· Do you recall that
21· ·being a significant source of delay in
22· ·getting --
23· · · · ·A.· I don't recall.
24· · · · ·Q.· -- the statute passed?
25· · · · · · ·ATTORNEY ACKERMAN:· Object to


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·1· ·days.· Otherwise, I could not go for a
·2· ·day trip to Tortola at the last
·3· ·minute."
·4· · · · · · ·Do you see that?
·5· · · · ·A.· Okay.· Yes.
·6· · · · ·Q.· From your point of view, sir,
·7· ·how important was it in constructing
·8· ·sex offender registration legislation
·9· ·that it permit Mr. Epstein to make
10· ·spontaneous trips to Tortola?
11· · · · · · ·ATTORNEY ACKERMAN:· Object to
12· ·form.
13· · · · · · ·THE WITNESS:· My understanding
14· ·of the SORNA law, purpose was not to
15· ·restrict a person's movement.· It was
16· ·to follow, to monitor the movement.
17· · · · · · ·(BY ATTORNEY NEIMAN):
18· · · · ·Q.· Okay.· Let me ask you the
19· ·question in a slightly different way,
20· ·sir.· From your point of view -- well,
21· ·withdrawn.
22· · · · · · ·Sir, do you think there was
23· ·any law enforcement interest in
24· ·structuring a sex offender
25· ·registration law such that it would


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·1· · · · ·A.· -- and poor people.
·2· · · · ·Q.· And you -- we're not talking
·3· ·about -- Mr. Epstein going to Tortola
·4· ·for a day because he's a charter boat
·5· ·captain and needs to do it for his
·6· ·work.· We're talking about someone who
·7· ·is expressing desire to go for
·8· ·pleasure.· Was that important to
·9· ·facilitate in the SORNA legislation?
10· · · · ·A.· The SORNA legislation, you
11· ·referenced the conference that was
12· ·held in the -- working on the SORNA
13· ·law.· One of the reasons that the task
14· ·force was assembled, which was --
15· ·included persons from various agencies
16· ·within the government and some private
17· ·-- private stakeholders, was because
18· ·our law was what I would call a
19· ·first-generation SORNA law.· And there
20· ·hadn't been any upgrade of that law
21· ·for quite some time.
22· · · · · · ·And there was a
23· ·requirement the feds recognized, and
24· ·we agreed with them, we need to
25· ·upgrade the law.· And there were --


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·1· · · · ·A.· Right.· I'm --
·2· · · · · · ·ATTORNEY ACKERMAN:
·3· ·Objection.
·4· · · · · · ·THE WITNESS:· I'm saying that
·5· ·I may have seen that -- whether what I
·6· ·saw was this Exhibit 10 I don't
·7· ·recall.
·8· · · · · · ·(BY ATTORNEY NEIMAN):
·9· · · · ·Q.· Don't recall one way or the
10· ·other?
11· · · · ·A.· I don't recall.
12· · · · ·Q.· You were certainly involved in
13· ·some of the discussions with
14· ·Mr. Epstein's counsel about what
15· ·changes they wanted to see in the
16· ·legislation?
17· · · · · · ·ATTORNEY ACKERMAN:· Objection;
18· ·misstates prior testimony.
19· · · · · · ·THE WITNESS:· What changes
20· ·they proposed as suggestions or
21· ·changes, yes.
22· · · · · · ·(BY ATTORNEY NEIMAN):
23· · · · ·Q.· Okay.· And then you can see on
24· ·the first page that Ms. Carbon writes
25· ·to Ms. Hodge on June 25th, "Attached


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·1· ·is our counterproposal."
·2· · · · · · ·Do you see that?
·3· · · · ·A.· Yes.
·4· · · · ·Q.· Was it important from your
·5· ·perspective to try to reach some kind
·6· ·of agreement on a proposal with
·7· ·counsel for Mr. Epstein?
·8· · · · · · ·ATTORNEY ACKERMAN:· Objection
·9· ·to form.
10· · · · · · ·THE WITNESS:· It was no less
11· ·important as how -- consideration we
12· ·would give to any citizen that has an
13· ·interest in pending legislation that
14· ·we may be willing to hear from them.
15· · · · · · ·(BY ATTORNEY NEIMAN):
16· · · · ·Q.· Uh-huh.· So it's normal in
17· ·your practice when you're considering
18· ·criminal justice regulation to make
19· ·sure it's agreeable to the prospective
20· ·offenders that the legislation --
21· · · · ·A.· We have had --
22· · · · ·Q.· -- will regulate -- to the
23· ·prospective offenders that the
24· ·legislation will regulate?
25· · · · · · ·ATTORNEY ACKERMAN:· Objection


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·1· ·to form.
·2· · · · · · ·THE WITNESS:· We have had --
·3· ·I've had -- my experience, several
·4· ·times, in maybe legislation that is
·5· ·pending that we receive commends and
·6· ·concerns from defense counsel, whether
·7· ·it be private counsel or the Public
·8· ·Defender's Office, and we give some
·9· ·consideration to what they may be
10· ·requesting.
11· · · · · · ·It doesn't mean we would agree
12· ·them and put what they want in it.
13· ·But if we feel that it does not
14· ·obstruct the objective and efficacy of
15· ·the legislation, we would engage in
16· ·that discussion.
17· · · · · · ·(BY ATTORNEY NEIMAN):
18· · · · ·Q.· So you're saying it would be
19· ·typical for you to share back and
20· ·forth drafts and see if you can reach
21· ·agreement with the offenders on
22· ·whether they like the legislation
23· ·you're proposing?
24· · · · · · ·ATTORNEY ACKERMAN:· Objection
25· ·to form.


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·1· · · · · · ·THE WITNESS:· That's not what
·2· ·I said.
·3· · · · · · ·(BY ATTORNEY NEIMAN):
·4· · · · ·Q.· Okay.· Would you agree that
·5· ·that's what happened here?
·6· · · · ·A.· No.
·7· · · · · · ·ATTORNEY ACKERMAN:· Objection
·8· ·to form.
·9· · · · · · ·(BY ATTORNEY NEIMAN):
10· · · · ·Q.· There wasn't a back and forth
11· ·with counsel for the offender?
12· · · · · · ·ATTORNEY ACKERMAN:· Objection
13· ·to form.
14· · · · · · ·(BY ATTORNEY NEIMAN):
15· · · · ·Q.· You can answer.
16· · · · ·A.· I had discussions back and
17· ·forth with legal counsel.
18· · · · ·Q.· For the offender?
19· · · · ·A.· Maria -- Maria Hodge represent
20· ·a whole lot of different people.· When
21· ·I speak to Maria -- when I speak to
22· ·Maria Hodge in -- in this exchange on
23· ·this, I am extending a courtesy to a
24· ·member of the Virgin Islands bar in
25· ·trying to craft a legislation that


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·1· ·affects the -- the whole Virgin
·2· ·Islands, everyone in the Virgin
·3· ·Islands.
·4· · · · · · ·So that's who I'm negotiating
·5· ·with.· I'm not negotiating with
·6· ·Epstein.· I don't have anything with
·7· ·Epstein.· I wasn't -- I had the
·8· ·exchange and proposals with Attorney
·9· ·Hodge --
10· · · · ·Q.· All right.
11· · · · ·A.· -- who at the same time had, I
12· ·think from -- from what you show from
13· ·Exhibit 12 -- well, I'm sorry, one of
14· ·the exhibits, was having -- was
15· ·making -- submitting her proposal to
16· ·the legislature as well.· So the
17· ·passage of the law, I mean, it comes
18· ·from many different sources.
19· · · · ·Q.· Yeah.· Did you think Ms. Hodge
20· ·was working for anybody other than
21· ·Mr. Epstein?
22· · · · ·A.· I had an exchange with
23· ·Attorney Maria Hodge as a respected
24· ·member of the Virgin Islands bar.· And
25· ·regardless of who she's working for, I


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·1· ·will give her the same respect.
·2· · · · ·Q.· That's not what I asked you,
·3· ·sir.
·4· · · · ·A.· Well, that's what I'm telling
·5· ·you, that's how it is.
·6· · · · ·Q.· Did you --
·7· · · · ·A.· That's what -- but regardless
·8· ·of who -- if Maria Hodge represents
·9· ·someone who is a murderer --
10· · · · ·Q.· Uh-huh.
11· · · · ·A.· -- and there is a legislation
12· ·that is -- that is going through that
13· ·she has an interest that may have an
14· ·impact with her client, I will engage
15· ·in a discussion with her with regard
16· ·to the law, a proposed law, as a
17· ·courtesy and respect to her as a
18· ·respected member of the bar.
19· · · · ·Q.· So I'm going to resist the
20· ·urge here.· I'll ask you a different
21· ·question.· Let me just make sure I
22· ·understand who you thought Ms. Hodge
23· ·represented in the time that you were
24· ·having this dialogue.· Am I correct
25· ·that you understood that Ms. Hodge


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·1· · · · · · ·THE WITNESS:· No, I'm good.
·2· · · · · · ·ATTORNEY NEIMAN:· All right.
·3· ·Let's keep going then.
·4· · · · · · ·ATTORNEY NEIMAN:· Let's go to
·5· ·-- I'll will show you a new exhibit,
·6· ·sir.
·7· · · · · · ·ATTORNEY ACKERMAN:· Is this
·8· ·18?
·9· · · · · · ·ATTORNEY NEIMAN:· Yeah.· We'll
10· ·call this Exhibit 18.
11· · · · · · ·(Whereupon, Defendant's
12· · · · · · · Exhibit No. 18, Letter dated
13· · · · · · · March 14, 2019, was marked for
14· · · · · · · identification)
15· · · · · · ·(BY ATTORNEY NEIMAN):
16· · · · ·Q.· All right.· And if you could
17· ·turn in Exhibit 31 to the page with
18· ·Bates number 12480.
19· · · · ·A.· To Exhibit 18?
20· · · · ·Q.· Exhibit 18.· Yeah, I'm sorry.
21· ·It's Exhibit 31 in my book, but it's
22· ·Exhibit 18 for you.· If you could turn
23· ·to the page 12480 at the bottom.· All
24· ·right, sir?
25· · · · ·A.· What page?· I was looking at


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·1· ·the date.
·2· · · · ·Q.· 12480.· Let me know when
·3· ·you're there.
·4· · · · ·A.· Okay.
·5· · · · ·Q.· Okay.· So this is a letter
·6· ·dated July 16th, 2012 to you from Ms.
·7· ·Hodge.· Do you see that?
·8· · · · ·A.· Yes.
·9· · · · ·Q.· And the topic of the letter in
10· ·the Re line is a request pursuant to
11· ·Bill 29-0239 for reduction/approval of
12· ·notice procedures for travel outside
13· ·the Virgin Islands by Jeffrey Epstein.
14· ·Do you see that?
15· · · · ·A.· Yes.
16· · · · ·Q.· And in the first sentence of
17· ·the letter, Ms. Hodge thanks you for
18· ·meeting with her and Mr. Indyke on
19· ·Friday, July 13th, to discuss
20· ·implementation of the new travel
21· ·notice procedures for registered sex
22· ·offenders.· Do you see that?
23· · · · ·A.· Yes.
24· · · · ·Q.· And that's a meeting that you
25· ·had with them actually before the


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·1· ·Governor had even signed the bill into
·2· ·law.· Isn't that right?
·3· · · · ·A.· I'm sorry.· You have a
·4· ·question?
·5· · · · ·Q.· Yeah.· My question was --
·6· · · · ·A.· I'm sorry.
·7· · · · ·Q.· -- the meeting that you had
·8· ·with Mr. Epstein's counsel to discuss
·9· ·giving him a reduction of notice
10· ·procedures was before the law, the new
11· ·bill, had even been signed into law by
12· ·the Governor, right?
13· · · · ·A.· Yes, it appears so.
14· · · · ·Q.· Okay.
15· · · · ·A.· Uh-huh.
16· · · · ·Q.· Do you recall that meeting?
17· · · · ·A.· No, I do not.
18· · · · ·Q.· All right.· You can see this
19· ·is a several-page letter that they
20· ·have submitted to you with laying out
21· ·what they're asking for.· And then if
22· ·you turn to page 12483, you can see a
23· ·letter from you to Ms. Hodge on July
24· ·25th, so about nine days after her
25· ·letter to you.· Do you see that?


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·1· · · · ·A.· Yes.· I see that.
·2· · · · ·Q.· All right.· And you indicate
·3· ·in -- withdrawn.
·4· · · · · · ·I take it this July 25th, 2012
·5· ·letter is your response to Ms. Hodge's
·6· ·letter to you of July 16th.· Fair?
·7· · · · ·A.· Yes.
·8· · · · ·Q.· And what you say in your
·9· ·letter in the second paragraph is,
10· ·quote, "It is my understanding that
11· ·Mr. Epstein's business activities
12· ·require him to make frequent and often
13· ·unexpected trips out of the territory
14· ·to United States destinations and to
15· ·international destinations."
16· · · · · · ·Do you see that?
17· · · · ·A.· Yes.
18· · · · ·Q.· And you say in the next
19· ·paragraph, "Based upon your
20· ·representation and that of Attorney
21· ·Darren Indyke, we will grant the
22· ·waiver."
23· · · · · · ·Do you see that?
24· · · · ·A.· Yes.
25· · · · ·Q.· And then you lay out certain


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·1· ·conditions for the waiver, correct?
·2· · · · ·A.· Yes.
·3· · · · ·Q.· Am I correct, sir, that this
·4· ·grant of a waiver, as you say here,
·5· ·was based on the representations of
·6· ·Ms. Hodge and Mr. Indyke and not on
·7· ·any evidence they presented to you?
·8· · · · · · ·ATTORNEY ACKERMAN:· Objection
·9· ·to form.
10· · · · · · ·THE WITNESS:· It was based on
11· ·the information's that they
12· ·provided.
13· · · · · · ·(BY ATTORNEY NEIMAN):
14· · · · ·Q.· And that information was
15· ·what's set forth in the letter of July
16· ·16th, correct?
17· · · · · · ·ATTORNEY ACKERMAN:· Objection
18· ·to form.
19· · · · · · ·THE WITNESS:· At least that at
20· ·minimum.
21· · · · · · ·(BY ATTORNEY NEIMAN):
22· · · · ·Q.· Can you identify any --
23· · · · ·A.· If there's anything else, I
24· ·can't recall.
25· · · · ·Q.· Okay.· You can't identify


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·1· ·anything else they provided you?
·2· · · · ·A.· I can't recall if there was
·3· ·anything else.
·4· · · · ·Q.· Okay.· All right.· And then
·5· ·you can see that if you turn the page
·6· ·again to page 12485, you will see that
·7· ·you got an immediate letter back from
·8· ·Ms. Hodge asking for further waivers.
·9· · · · · · ·You see that?
10· · · · ·A.· Yeah.
11· · · · ·Q.· And what Ms. Hodge writes to
12· ·you in the first paragraph of her
13· ·response letter is -- let's see.· The
14· ·first sentence indicates that she's
15· ·received your letter.· In the second
16· ·sentence, he says, "We appreciate the
17· ·consideration given to Mr. Epstein's
18· ·frequent travel requirements.
19· ·However, we still have serious
20· ·concerns regarding what we believe are
21· ·undue restrictions placed on
22· ·Mr. Epstein's travel in the conduct of
23· ·his business and professional
24· ·activities."
25· · · · · · ·Do you see that?


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·1· · · · ·A.· Yes.
·2· · · · ·Q.· Can you recall anything
·3· ·specific that Ms. Hodge told you about
·4· ·the nature of Mr. Epstein's business
·5· ·and professional activities?
·6· · · · ·A.· I don't recall.
·7· · · · ·Q.· And do you recall ever seeing
·8· ·any documents or any evidence from
·9· ·anyone other than his lawyers showing
10· ·that his business and professional
11· ·activities required frequent travel?
12· · · · ·A.· I don't recall if I received
13· ·anything else.
14· · · · ·Q.· Okay.· Do you recall that you
15· ·granted the waiver that Ms. Hodge
16· ·requested in this follow-up letter?
17· · · · ·A.· Yes.
18· · · · ·Q.· Why did you grant it?
19· · · · ·A.· I was satisfied with the
20· ·representations that were made by his
21· ·counsel; and to the extent there was
22· ·additional materials submitted, I --
23· ·it was sufficient for me to reconsider
24· ·my decision.
25· · · · ·Q.· Are you saying that there was


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·1· ·there were less information about his
·2· ·activities at that time --
·3· · · · ·Q.· Uh-huh.
·4· · · · ·A.· -- than now.
·5· · · · ·Q.· Okay.· But we saw that in the
·6· ·file of your organization, there was
·7· ·the 2010 article from The Daily Beast
·8· ·about how he had more -- that the --
·9· ·how the federal investigation had
10· ·identified more than 40 victims.
11· ·Remember that?
12· · · · ·A.· That wasn't sufficient to
13· ·me.
14· · · · ·Q.· Did the staff tell you that?
15· · · · ·A.· I don't recall if they told me
16· ·that.
17· · · · ·Q.· Okay.· But it wouldn't have
18· ·mattered?
19· · · · ·A.· Would it have mattered to --
20· ·for me to say -- to try to restrict
21· ·him in the Virgin Islands from going
22· ·to Los Angeles?· Probably not.· That's
23· ·not my role.
24· · · · ·Q.· Okay.
25· · · · ·A.· My role is that when he's in


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·1· ·the Virgin Islands I know where he is.
·2· ·When he's not in the Virgin Islands, I
·3· ·know where he is.· That's what the
·4· ·role of our monitor, our registry was.
·5· · · · ·Q.· Okay.· And you think you know
·6· ·where he is if you know what city he's
·7· ·in --
·8· · · · ·A.· If I know what city he's in --
·9· · · · ·Q.· -- even though you don't know
10· ·where -- hold on.· Let me finish
11· ·asking my question.
12· · · · ·A.· Sorry.
13· · · · ·Q.· You think it satisfied the law
14· ·enforcement interest in knowing where
15· ·he is if you know what city he's in?
16· · · · · · ·ATTORNEY ACKERMAN:· Objection
17· ·to form.
18· · · · · · ·THE WITNESS:· It was
19· ·satisfactory to me in 2012.
20· · · · · · ·(BY ATTORNEY NEIMAN):
21· · · · ·Q.· Okay.· Did your staff tell you
22· ·that he had settled cases with a dozen
23· ·women paying more than a million
24· ·dollars each?
25· · · · ·A.· I don't recall.


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·1· ·it's a matter of an agent going to
·2· ·their place of residence in a car and
·3· ·making a check.· It required more than
·4· ·that to go to Little St. James to
·5· ·check on him also.· So we didn't have
·6· ·a planned program of how many times he
·7· ·will be checked.
·8· · · · · · ·ATTORNEY NEIMAN:· Okay.· Let's
·9· ·take a look, if we could, at --
10· · · · · · ·COURT REPORTER:· If we could
11· ·take a quick break?
12· · · · · · ·ATTORNEY NEIMAN:· Sure.
13· · · · · · ·COURT REPORTER:· Thank you.
14· · · · · · ·VIDEOGRAPHER:· Off the record
15· ·at 5:12.
16· · · · · · · · · · (Off the record)
17· · · · · · · · · (Back on the record)
18· · · · · · ·VIDEOGRAPHER:· On the record.
19· ·The time is 5:27 P.M.
20· · · · · · ·(BY ATTORNEY NEIMAN):
21· · · · ·Q.· Good afternoon, Mr. Frazer.
22· · · · ·A.· Good afternoon.
23· · · · ·Q.· Sir, am I correct that in
24· ·order to enter or leave the Virgin
25· ·Islands from the United States, you


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·1· ·need to clear customs?
·2· · · · ·A.· Yes.
·3· · · · ·Q.· And that's true even if you're
·4· ·flying on a private plane?
·5· · · · ·A.· Yes.
·6· · · · ·Q.· As the Attorney General of the
·7· ·Virgin Islands, did you have the
·8· ·ability, if you had a law enforcement
·9· ·reason, to find out who was traveling
10· ·on a particular plane that entered the
11· ·Virgin Islands?
12· · · · · · ·ATTORNEY ACKERMAN:· Object to
13· ·form.
14· · · · · · ·THE WITNESS:· Yes, I imagine I
15· ·could.
16· · · · · · ·(BY ATTORNEY NEIMAN):
17· · · · ·Q.· Did you ever try to find out
18· ·who was traveling with Jeffrey Epstein
19· ·on his private jet?
20· · · · ·A.· No.
21· · · · ·Q.· All right.· We were taking
22· ·before the break about the monitoring
23· ·program.· I was going to show you a
24· ·document related to that.
25· · · · · · ·ATTORNEY NEIMAN:· If we could


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·1· ·that she worked for him.
·2· · · · ·Q.· Okay.· And how did you learn
·3· ·that she worked for him?
·4· · · · ·A.· I don't recall how I knew, how
·5· ·it came to my attention then.· It
·6· ·didn't --
·7· · · · ·Q.· Okay.· Your letter granting
·8· ·the discretionary waiver states
·9· ·that -- in fact, let's just pull it
10· ·out.
11· · · · · · ·Do you have Exhibit 4 in front
12· ·of you?
13· · · · ·A.· Yeah.
14· · · · ·Q.· If you would turn at the
15· ·bottom to the page that's 12263,
16· ·please.· Let me know when you have
17· ·that in front of you.
18· · · · ·A.· Yes.
19· · · · ·Q.· And this is one of the letters
20· ·that you sent to Attorney Hodge
21· ·specifying the conditions of the
22· ·discretionary waiver that you granted
23· ·Mr. Epstein, correct?
24· · · · ·A.· Yes.
25· · · · ·Q.· Okay.· And if you look at the


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·1· ·third full paragraph of that letter,
·2· ·it states, "Based upon your
·3· ·representation and that of Attorney
·4· ·Indyke."
·5· · · · · · ·Did I read that correctly?
·6· · · · ·A.· Yes.
·7· · · · ·Q.· And what representations were
·8· ·you referring to there?
·9· · · · ·A.· I believe you saw in the
10· ·record several letters from Attorney
11· ·Maria Hodge and Attorney Indyke and
12· ·the meetings that were had.· So the
13· ·representation includes the totality
14· ·of all of the correspondence and the
15· ·discussions and the meetings.
16· · · · ·Q.· So if you would go to Exhibit
17· ·5, please.· I'm sorry.· Nope, stick
18· ·with Exhibit 4, and go to the page
19· ·that is the letter that begins at
20· ·Bates number 12246.· Let me know when
21· ·you're there.
22· · · · ·A.· Okay.· Yes.
23· · · · ·Q.· And is this letter that begins
24· ·at page 12246 a letter that you
25· ·received from Mr. Indyke?


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·1· · · · ·A.· Yes.
·2· · · · ·Q.· And does this letter contain
·3· ·representations upon which you relied
·4· ·in exercising your discretion to make
·5· ·decisions regarding Mr. Epstein's
·6· ·notification requirements?
·7· · · · ·A.· Yes.
·8· · · · ·Q.· Okay.
·9· · · · ·A.· This was included.
10· · · · ·Q.· Okay.· I'm sorry.· You said
11· ·this was?
12· · · · ·A.· Included, yes.
13· · · · ·Q.· Okay.· If you would turn,
14· ·please, to page 2 of this letter --
15· · · · ·A.· Uh-huh.
16· · · · ·Q.· -- I want to direct your
17· ·attention to the paragraph that begins
18· ·first.· It's the first full paragraph
19· ·on that page.
20· · · · ·A.· Yes.
21· · · · ·Q.· Are you with me?
22· · · · ·A.· Yes.
23· · · · ·Q.· Okay.· The second -- yes.· The
24· ·second sentence of that paragraph
25· ·reads, "Mr. Epstein has followed the


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·1· ·same procedure in the State of
·2· ·Florida, the very same jurisdiction of
·3· ·Mr. Epstein's conviction which gave
·4· ·rise to his registration requirement,
·5· ·where Mr. Epstein is permitted to
·6· ·provide E-mail notification of his
·7· ·arrival and departure."
·8· · · · · · ·Did I read that correctly?
·9· · · · ·A.· Yes.
10· · · · ·Q.· And is that a representation
11· ·upon which you relied in formulating
12· ·your decision --
13· · · · ·A.· That representation --
14· ·however, remember that I also had my
15· ·staff to research the requirements
16· ·from Florida and New York, the two
17· ·particular jurisdictions that we were
18· ·dealing with Epstein.
19· · · · ·Q.· Okay.· And if you look at the
20· ·next sentence, it reads, "Mr. Epstein
21· ·provides E-mail notification to the
22· ·State of New Mexico when he travels to
23· ·and from his vacation home in that
24· ·jurisdiction."
25· · · · · · ·Did I read that correctly?


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·1· · · · ·A.· Yes.
·2· · · · ·Q.· And is that a representation
·3· ·upon which you relied?
·4· · · · ·A.· Yes.
·5· · · · ·Q.· Okay.· That same sentence
·6· ·references the State of New York.· Do
·7· ·you see that?
·8· · · · ·A.· Yes.
·9· · · · ·Q.· And did you rely on Mr.
10· ·Indyke's representations regarding the
11· ·State of New York?
12· · · · ·A.· That and the research that we
13· ·had done --
14· · · · ·Q.· Okay.
15· · · · ·A.· -- my staff had done.
16· · · · ·Q.· If you look at the next
17· ·paragraph, sir, the one that begins
18· ·"Communication between the Department
19· ·of Justice," let me know when you're
20· ·there?
21· · · · ·A.· Yes.
22· · · · ·Q.· Okay.· Would you please
23· ·read -- well, let me read the last
24· ·sentence of that paragraph where Mr.
25· ·Indyke writes, "In short, I believe,


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·1· ·as do the states of Florida, New
·2· ·Mexico and New York, that there is no
·3· ·public safety necessity in requiring
·4· ·Mr. Epstein to notify the Department
·5· ·in person each time he travels to or
·6· ·from the jurisdiction."
·7· · · · · · ·Did I read that correctly?
·8· · · · ·A.· Yes.
·9· · · · ·Q.· And is that part of the -- of
10· ·the representations made upon which
11· ·you relied?
12· · · · ·A.· We took it into
13· ·consideration.
14· · · · ·Q.· Okay.· I'll ask you a
15· ·question, sir, while I look for this
16· ·next document.· You mentioned earlier
17· ·that you believe there was not the
18· ·same type of information about
19· ·Mr. Epstein known in 2012 or available
20· ·in 2012 as is available now.· What did
21· ·you mean by that?
22· · · · ·A.· I think in 2012, as I
23· ·indicated, I think 2011, at the time
24· ·that Mr. Epstein came up on our radar
25· ·in the sexual offender office was the


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·1· ·and the law provide for latitude for
·2· ·an exercise of discretion.· Based on
·3· ·the totality of the information that
·4· ·was given· to me, I made a decision
·5· ·based on that.
·6· · · · ·Q.· If you would look at Exhibit
·7· ·22, please.· Actually take it back.
·8· ·We can -- let's stick with Exhibit 21.
·9· · · · ·A.· Uh-huh.
10· · · · ·Q.· There's an insinuation in
11· ·Exhibit 21 that either you or Senator
12· ·Russell did one thing or said one
13· ·thing and did another.· Do you see
14· ·that?
15· · · · ·A.· Yes.
16· · · · ·Q.· Do you have any -- any
17· ·suspicion as to where that suggestion
18· ·may have come from?
19· · · · ·A.· No, I don't.· Certainly I
20· ·don't know what -- in reference to
21· ·what Senator Russell may have done, I
22· ·don't know what they may be speaking
23· ·of.· In some of these it makes to, I
24· ·suppose it's suggestion that I did
25· ·something contrary to what I may have


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·1· ·indicated previously.· And I think
·2· ·it's kind of a vague notion on what
·3· ·may be referenced.
·4· · · · ·Q.· Okay.· And what is that vague
·5· ·notion?
·6· · · · ·A.· I think the meetings that they
·7· ·-- the meetings that were had when we
·8· ·-- you saw that Attorney Anderson and
·9· ·Attorney Carbon met with Maria Hodge
10· ·and Attorney Indyke.· I was off
11· ·island.· I think I may have been on
12· ·vacation or something or at a
13· ·conference or something.· And they
14· ·were -- they met with Maria Hodge, and
15· ·there may have been some exchange and
16· ·some, I think, misunderstanding as to
17· ·our agreement on language.
18· · · · · · ·And when I got back, my
19· ·representation from me may have been
20· ·contrary to what they may have
21· ·misunderstood.· And so where they may
22· ·have thought we had agreement, we may
23· ·not have had agreement on it.· And
24· ·that may be some of what they were
25· ·talking about.


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·1· · · · · · ·As to exactly what part of it,
·2· ·I don't recall what part, but I think,
·3· ·as I think back, that may be some of
·4· ·what they're referring to.
·5· · · · ·Q.· Okay.· Speaking of going on
·6· ·vacation, there was some testimony
·7· ·earlier today, earlier this afternoon
·8· ·about trips to Tortola.· Do you recall
·9· ·that?
10· · · · ·A.· Yes.
11· · · · ·Q.· Okay.· Where -- how does one
12· ·get to Tortola from the U.S. Virgin
13· ·Islands?
14· · · · ·A.· Take a ferry from Red Hook,
15· ·close over here, or a ferry from
16· ·downtown St. Thomas.
17· · · · ·Q.· How long a ferry ride is it?
18· · · · ·A.· It's about 45 minutes.
19· · · · ·Q.· How common -- or how often
20· ·does that ferry run?
21· · · · ·A.· The ferry runs about probably
22· ·maybe every -- probably not every
23· ·hour.· Maybe probably every -- because
24· ·you have three ferry companies.
25· ·So probably like maybe three within


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·1· ·three-hour time of ferries leaving.
·2· · · · ·Q.· Okay.· And does that run --
·3· · · · ·A.· Very frequent.
·4· · · · ·Q.· Does it run seven days a
·5· ·week?
·6· · · · ·A.· Yes.
·7· · · · ·Q.· And is it -- in your
·8· ·experience as a native Virgin
·9· ·Islander, is it common for residents
10· ·of the Virgin Islands to visit
11· ·Tortola?
12· · · · ·A.· Very much so.
13· · · · ·Q.· Okay.· There was reference
14· ·earlier to the U.S. Customs and Border
15· ·Protection.· Do you recall that
16· ·testimony?
17· · · · ·A.· Yes.
18· · · · ·Q.· And so just to be clear, when
19· ·an individual leaves the Virgin
20· ·Islands, that individual has to clear
21· ·customs, correct?
22· · · · ·A.· Yes.
23· · · · ·Q.· And is that customs check
24· ·performed by the Government of the
25· ·Virgin Islands?


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·1· · · · ·A.· No, it's not.
·2· · · · ·Q.· Who performs that customs
·3· ·check?
·4· · · · ·A.· The custom check is done by
·5· ·the Federal United States Custom and
·6· ·Border Protection agency.
·7· · · · ·Q.· Did the -- to your knowledge,
·8· ·did the Federal Custom and Border
·9· ·Protection agency ever advise law
10· ·enforcement officials in the Virgin
11· ·Islands of any suspicion or suspicious
12· ·activity concerning Mr. Epstein's
13· ·travels?
14· · · · ·A.· They never informed me.· I'm
15· ·not aware they ever informed the
16· ·Police Commissioner.
17· · · · ·Q.· Mr. Frazer, or Attorney
18· ·Frazer --
19· · · · ·A.· Uh-huh.
20· · · · ·Q.· -- do you believe that the
21· ·waivers that you granted in your
22· ·discretion enabled Mr. Epstein to
23· ·engage in sex trafficking?
24· · · · · · ·ATTORNEY NEIMAN:· Objection,
25· ·foundation.· You can answer it.


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·1· · · · · · ·THE WITNESS:· No, I don't
·2· ·believe so.
·3· · · · · · ·(BY ATTORNEY ACKERMAN):
·4· · · · ·Q.· And why don't you believe so?
·5· · · · ·A.· Our job was to monitor his
·6· ·presence within the territory or out
·7· ·of the territory.· What he does while
·8· ·he's out of the territory we have no
·9· ·way of knowing.· When he's on there --
10· ·when he is in the territory, what he's
11· ·doing in his home, we are not aware
12· ·of.
13· · · · · · ·As related to your question
14· ·you just asked, it's when he comes
15· ·into the territory, we know he -- he
16· ·is present in the territory by virtue
17· ·of his registration at Department of
18· ·Justice.· Who may be -- who may have
19· ·flew in with him on his private jet,
20· ·the Government of the Virgin Islands
21· ·officials would not know.· U.S.
22· ·Customs and Border Patrol would know.
23· ·But they've never indicated that they
24· ·had any reason, any suspicious as to
25· ·who was coming in with him and going


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·1· ·out with him.
·2· · · · · · ·So I -- you know, I don't
·3· ·believe that there was anything that
·4· ·we did that accommodated· from the
·5· ·Department of Justice in the sexual
·6· ·offender office that accommodated or
·7· ·-- or in any way facilitated his
·8· ·illegal activity.
·9· · · · ·Q.· Are you aware under the Virgin
10· ·Islands SORNA Statute of a requirement
11· ·for an offender to register in person
12· ·at least once a year?
13· · · · ·A.· I can't recall honestly.
14· · · · ·Q.· Okay.
15· · · · ·A.· Well, let me think about it.
16· ·I believe at minimum, all registrants
17· ·are required to register at least once
18· ·a year.· Those on lower tiers may have
19· ·to -- or higher tiers have to report
20· ·more than once a year.
21· · · · ·Q.· Do you know whether
22· ·Mr. Epstein registered in person at
23· ·the Department of Justice at least
24· ·once a year?
25· · · · ·A.· I would expect that he did.               I


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